Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 1 of 40 PageID #:1654

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   1                      TRANSCRIBED FROM DIGITAL RECORDING
   2               IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
   3                         EASTERN DIVISION
     UNITED STATES OF AMERICA,        )
   4                                  )
                       Plaintiff,     ) Case No. 13 CR 312
   5 -vs-                             )
                                      ) Chicago, Illinois
   6 EDWARD J. NOVAK, et al.,         ) April 16, 2013
                                      ) 3:51 p.m.
   7                   Defendants.    )
   8
                          TRANSCRIPT OF PROCEEDINGS
   9       BEFORE THE HONORABLE DANIEL G. MARTIN, MAGISTRATE JUDGE
 10    APPEARANCES:
 11    For the Government:         HON. GARY S. SHAPIRO
                                   UNITED STATES ATTORNEY
 12                                BY: MR. JOEL M. HAMMERMAN
                                   MS. TERRA REYNOLDS
 13                                219 S. Dearborn Street
                                   Chicago, IL 60604
 14                                (312) 353-5300
                                   E-mail: Joel.hammerman@usdoj.gov
 15                                         Terra.reynolds@usdoj.gov
 16    For Defendant Novak:        MR. ROBERT LEE GEVIRTZ
                                   Gevirtz & Born
 17                                181 Waukegan Road
                                   Suite 308
 18                                Northfield, IL 60093
                                   (847) 501-3388
 19                                E-mail: Rgevirtz@gblaw91.com
 20
 21    Transcriber:
 22                  KATHLEEN M. FENNELL, CSR, RPR, RMR, FCRR
                               Official Court Reporter
 23                         United States District Court
                      219 South Dearborn Street, Suite 2524-A
 24                           Chicago, Illinois 60604
                             Telephone: (312) 435-5569
 25                     Kathleen_Fennell@ilnd.uscourts.gov
Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 2 of 40 PageID #:1655

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   1   APPEARANCES: (Continued)
   2   For Defendant
       Payawal:                    MR. ROBERT G. CLARKE
   3                               Attorney at Law
                                   123 W. Madison Street
   4                               Chicago, IL 60603
                                   (312) 332-3101
   5                               E-mail: Prestidigitate@sbcglobal.net
   6   For Defendant
       Kuchipudi:                  MR. JOSEPH A. PAVONE
   7                               Attorney at Law
                                   1920 S. Highland Avenue
   8                               Suite 203
                                   Lombard, IL 60148
   9                               (630) 261-1177
 10    For Defendant May:          MR. ROBERT A. FISHER
                                   Robert A. Fisher, Ltd.
 11                                20 South Clark Street
                                   Suite 700
 12                                Chicago, IL 60603
                                   (312) 372-8888
 13                                E-mail: Raf@rfisher-law.com
 14    For Defendant Maitra: MR. THOMAS ANTHONY DURKIN
                             MS. JANIS D. ROBERTS
 15                          Durkin & Roberts
                             2446 North Clark Street
 16                          Chicago, IL 60614
                             (312) 913-9300
 17                          E-mail: Tdurkin@durkinroberts.com
                                     Jdroberts@durkinroberts.com
 18
       For Defendant
 19    Moshiri:                    MR. CARL PETER CLAVELLI
                                   Attorney at Law
 20                                53 W. Jackson Boulevard
                                   Suite 733
 21                                Chicago, IL 60604
                                   (312) 953-8165
 22                                E-mail: Carlclavelli@netscape.net
 23
 24
 25
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 3 of 40 PageID #:1656

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              1         (Proceedings heard in open court:)
              2               THE CLERK: 13 CR 312, United States versus Edward
              3   Novak, Payawal, Kuchipudi, Percy May, Jr., Subir Maitra and
              4   Shanin Moshiri.
11:28:57      5               THE COURT: Okay. Good afternoon.
              6               MR. HAMMERMAN: Good afternoon, your Honor. Joel
              7   Hammerman, H-A-M-M-E-R-M-A-N, and Terra Reynolds,
              8   R-E-Y-N-O-L-D-S, for the United States.
              9               MR. CLARKE: Robert Clarke on behalf of Roy M.
11:29:22    10    Payawal. I have submitted an appearance, Judge.
            11                THE COURT: Okay. Just let me start off because I'm
            12    going to write -- I'm going to write the name of each attorney
            13    next to her or his respective client and Mr. Hammerman and
            14    Ms. Reynolds and Mr. Clarke, Mr. Payawal, good afternoon one
11:29:39    15    and all.
            16                Next.
            17                MR. DURKIN: Judge, Tom Durkin and Janis Roberts on
            18    behalf of Mr. Subir Maitra.
            19                THE COURT: Mr. Durkin and Ms. Roberts, good
11:29:55    20    afternoon to both of you. That's on behalf of --
            21                MR. DURKIN: Subir Maitra.
            22                THE COURT: Okay.
            23                MR. DURKIN: The fifth person.
            24                THE COURT: Mr. Maitra is present?
11:30:11    25                MR. DURKIN: He's here, yes.
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 4 of 40 PageID #:1657

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              1               THE COURT: Okay. Good afternoon, sir.
              2               Okay. Who's next?
              3               MR. CLAVELLI: Good afternoon, your Honor. Carl
              4   Clavelli, C-L-A-V-E-L-L-I, on behalf of --
11:30:45      5               THE COURT: Hold on. We're up a little high. Are we
              6   okay?
              7               All right. Mr. Clavelli, go ahead.
              8               MR. CLAVELLI: I've been asked to represent No. 6,
              9   Mr. Shanin Moshiri, M-O-S-H-I-R-I, and I'll be submitting
11:31:04    10    certain forms to the Court, but I have not prepared a
            11    financial affidavit. I believe I'll be representing him for
            12    today only.
            13                THE COURT: Okay. Well, then we'll ask you at the
            14    close of business today or before court is recessed,
11:31:20    15    Mr. Clavelli, to simply file your appearance and an order
            16    appointing counsel and if you're seeking a provisional
            17    appointment or if any of the other lawyers are, we'll appoint
            18    you for today's purposes only.
            19                We'll get into the whole issue of counsel once we get
11:31:38    20    everyone on the record, so if we don't have financial
            21    affidavits and any counsel are planning to represent or to
            22    seek appointment, I'll just ask those affidavits be tendered
            23    to the Court as soon as feasible, and in the meantime, I'll
            24    appoint all lawyers provisionally based on the representations
11:32:00    25    of financial indigency.
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 5 of 40 PageID #:1658

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              1               MR. CLAVELLI: Thank you, Judge.
              2               THE COURT: Okay. Who's next?
              3               MR. GEVIRTZ: Good afternoon, your Honor. Robert
              4   Gevirtz entering my appearance on behalf of Edward Novak who's
11:32:16      5   standing to my right.
              6               THE COURT: Mr. Gevirtz and Mr. Novak, good afternoon
              7   to both of you gentlemen.
              8               Who am I missing?
              9               MR. FISHER: Robert Fisher, your Honor, on behalf of
11:32:25    10    Percy Conrad May.
            11                THE COURT: Mr. Fisher on behalf of Percy Conrad May.
            12    Good afternoon, Mr. May. Good afternoon, Mr. Fisher.
            13                MR. FISHER: Good afternoon.
            14                THE COURT: Okay. Anyone else?
11:32:43    15                MR. PAVONE: One more.
            16                THE COURT: Okay.
            17                MR. PAVONE: Joseph Pavone, P-A-V-O-N-E, here on
            18    behalf of Dr. Kuchipudi. That's K-U-C-H-I-P-U-D-I. I've
            19    already tendered the original of my appearance with hopefully
11:32:53    20    the Court's leave to file it therein.
            21                THE COURT: Certainly you have leave of court to file
            22    that. Mr. Pavone and Mr. Kuchipudi, good afternoon to both of
            23    you.
            24                Okay. I think we're all cued up and anyone in need
11:33:10    25    of a translator and are there translators here if anyone is?
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 6 of 40 PageID #:1659

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              1               MR. HAMMERMAN: I don't believe there's need for a
              2   translator for this proceeding, your Honor.
              3               THE COURT: Thanks, Mr. Hammerman.
              4               Okay.     We have obtained or we will obtain the
11:33:32      5   appearance of all counsel. I want to address everyone, and
              6   I'm going to ask in the order that we go for acknowledgment of
              7   the answers. It's more expeditious than taking everyone up
              8   here one at a time, but I want to hear from each individual.
              9   So when I ask a question, I'll go in the order of the
11:33:52    10    complaint, which is Mr. Novak, Mr. P-A-W-A-Y-A-L, Pawayal.
            11                MR. CLARKE: Payawal, yes.
            12                THE COURT: Payawal? Mr. Kuchipudi. That's
            13    K-U-C-H-I-P-U-D-I, Mr. May, Mr. M-A-I-T-R-A, Maitra.
            14                MR. DURKIN: Yes.
11:34:13    15                THE COURT: And Mr. Moshiri, all right? I'm going to
            16    address all of you gentlemen at once, but, believe me, I'm
            17    concerned about each and every one of you, so I want to hear
            18    everyone indicate when I do ask a question that you do
            19    understand and you follow what's going on, okay?
11:41:16    20                The purpose of today's hearing is to inform you of
            21    the charges against you, inform all of you of certain rights
            22    which are important to you, and to set and describe
            23    circumstances and conditions of your release from custody
            24    pending further court proceedings if that's determined
11:41:32    25    appropriate, okay?
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 7 of 40 PageID #:1660

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              1               None of you individuals are called upon to answer the
              2   charges at this time, and I will ask -- who's going to be the
              3   government's spokesperson here, or should I just say
              4   government?
11:41:46      5               MR. HAMMERMAN: I will, your Honor.
              6               THE COURT: Okay. I was going to say step forward,
              7   and then Ms. Reynolds, I saw her stepping back, so looks like
              8   you're going to be it anyway.
              9               MR. HAMMERMAN: Same thing in the end.
11:41:56    10                THE COURT: All right. Let's put Hammerman on the
            11    spot here.
            12                Mr. Hammerman, when were the charged individuals, the
            13    defendants, taken into custody? Between what time and what
            14    time?
11:42:08    15                MR. HAMMERMAN: All the charged individuals taken
            16    into custody between 6:00 and 7:00 a.m. this morning, your
            17    Honor.
            18                THE COURT: Okay. None of you individuals, none of
            19    you men are called upon to answer any of the charges at this
11:42:19    20    time. Do you understand?
            21                I first wish to advise all of you the following:
            22                You are not required to make any statements. If you
            23    have made any statement, you need not say anything further.
            24                If you choose to make a statement, you may stop at
11:42:36    25    any time, and keep in mind any statement made by you can be
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 8 of 40 PageID #:1661

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              1   used against you.
              2               Mr. Novak, do you understand what I've just said?
              3               DEFENDANT NOVAK: Yes.
              4               THE COURT: Okay. Mr. Payawal?
11:42:50      5               DEFENDANT PAYAWAL: I do.
              6               THE COURT: Mr. Kuchipudi?
              7               DEFENDANT KUCHIPUDI: I do.
              8               THE COURT: Mr. May?
              9               DEFENDANT MAY: I understand.
11:42:54    10                THE COURT: Mr. Maitra.
            11                DEFENDANT MAITRA: Yes.
            12                THE COURT: And Mr. Moshiri.
            13                DEFENDANT MOSHIRI: Yes.
            14                THE COURT: Thank you.
11:43:00    15                And as in any instance, you are all represented by
            16    capable, competent counsel, and I would say if there are any
            17    issues, any questions that you may have, the best thing you
            18    can do is to consult with your respective attorneys, which
            19    leads me into you all have a right to counsel and to confer
11:43:15    20    with your attorney at every critical stage of the criminal
            21    proceeding including right now today.
            22                If any of you have any questions of your respective
            23    lawyers at any point today, you can stop, ask for me to stop
            24    these proceedings, and we will, and we'll let you discuss any
11:43:31    25    questions you might have with your lawyers. Those of you
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 9 of 40 PageID #:1662

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              1   unable to afford an attorney, you already know that an
              2   attorney can and in some instances already has been appointed
              3   to represent you at no cost to you.
              4               Certainly those of you who have retained counsel know
11:43:46      5   that you have the right to retain counsel and those of you who
              6   have appointed attorneys can also retain counsel if you choose
              7   to do that. I don't advise this of anyone.
              8               You also have the right to waive the assistance of
              9   counsel and to represent yourself if you voluntarily and
11:44:06    10    intelligently elect to do so. I hope no one today thinks that
            11    he's intelligent enough to do that because it's not a smart
            12    move.
            13                You also have the right to consult with and be
            14    represented by counsel, your attorney, during the questioning
11:44:27    15    by any governmental authorities or by any law enforcement
            16    agency.
            17                Mr. Novak, do you understand all these rights
            18    regarding counsel?
            19                DEFENDANT NOVAK: Yes.
11:44:34    20                THE COURT: Mr. Payawal?
            21                DEFENDANT PAYAWAL: Yes.
            22                THE COURT: Okay. Mr, Kuchipudi.
            23                DEFENDANT KUCHIPUDI: Yes.
            24                THE COURT: Mr. Conrad May?
11:44:45    25                DEFENDANT MAY: I do.
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 10 of 40 PageID #:1663

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              1               THE COURT: Okay, Mr. Maitra?
              2               DEFENDANT MAITRA: Yes.
              3               THE COURT: And Mr. Moshiri?
              4               DEFENDANT MOSHIRI: Yes.
11:44:50      5               THE COURT: Thank you, thank you.
              6               Okay. I'm going to ask Ms. Santiago, our courtroom
              7    deputy, to place all of the defendants under oath.
              8               Again, I'm not going to ask you any questions about
              9    your case. You're not required to answer any questions about
11:45:05     10    your case, but I am going to ask all of you to state your
             11    name, your age, and your date of birth, and that will be in
             12    the order of the complaint also.
             13               So, Ms. Santiago, if you could administer the oath.
             14               THE CLERK: Can you all raise your right hands?
11:45:36     15          (Defendants sworn.)
             16               THE COURT: Having heard no nays and all yeas, I will
             17    proceed with Mr. Novak.
             18               Would you tell us your name, spell your last name,
             19    your date of birth and your age.
11:45:53     20               DEFENDANT NOVAK: Edward Novak.
             21               THE COURT: Okay. How do you spell your last name?
             22               DEFENDANT NOVAK: N-O-V-A-K.
             23               THE COURT: N-O-V-A-K. And how old are you,
             24    Mr. Novak?
11:46:06     25               DEFENDANT NOVAK: 12-20-54.
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 11 of 40 PageID #:1664

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              1               THE COURT: Okay.
              2               DEFENDANT NOVAK: 58.
              3               THE COURT: You look a lot younger than that, I must
              4    say.
11:46:29      5               DEFENDANT NOVAK: Not today.
              6               THE COURT: No, not today. I wish everybody good
              7    patience and lack of stress today to the extent I can.
              8               All right. Mr. Payawal?
              9               DEFENDANT PAYAWAL: 64 years old.
11:46:44     10               THE COURT: Date of birth?
             11               DEFENDANT PAYAWAL: 2-1, 1949.
             12               THE COURT: Okay. And your last name is
             13    P-A-Y-A-W-A-L.
             14               Mr. Kuchipudi.
11:47:00     15               DEFENDANT KUCHIPUDI: Yes. Date of birth, 11-10,
             16    1946.
             17               THE COURT: 11, I'm sorry, sir?
             18               DEFENDANT KUCHIPUDI: 11-10, 1946.
             19               THE COURT: November 10th of 1946. Okay. And how
11:47:35     20    old does that make you?
             21               DEFENDANT KUCHIPUDI: 66.
             22               THE COURT: 66, okay. Again, K-U-C-H-I-P-U-D-I.
             23               Mr. May, your date of birth and how old are you?
             24               DEFENDANT MAY: Percy Conrad May, December the 9th,
11:47:59     25    1937, 75 years old.
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 12 of 40 PageID #:1665

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              1               THE COURT: Thank you, sir.
              2               Mr. M-A-I-T-R-A, Maitra?
              3               DEFENDANT MAITRA: Yeah, should be Maitra.
              4               THE COURT: Maitra, I'm sorry.
11:48:10      5               DEFENDANT MAITRA: And date of birth, 2-17, 1940.
              6               THE COURT: Okay. And how old does that make you?
              7               DEFENDANT MAITRA: 73.
              8               THE COURT: Goodness. Okay. And Mr. Moshiri
              9    finally.
11:48:29     10               DEFENDANT MOSHIRI: 5-7, 1955. 58 years old.
             11               THE COURT: Okay. And your last name is spelled
             12    M-O-S-H-I-R-I.
             13               DEFENDANT MOSHIRI: Yes.
             14               THE COURT: All right. I'm going to ask the
11:48:45     15    government if all of the defendants have been provided a copy
             16    of the complaint with the supporting affidavit to that
             17    complaint in case 13 CR 312?
             18               MR. HAMMERMAN: Your Honor, they've all indicated
             19    they have copies of the complaint, all their counsel.
11:49:08     20               THE COURT: Very well.
             21               And defense counsel, has each and every defense
             22    attorney received a copy of the complaint and the supporting
             23    affidavit?
             24               MR. CLARKE: Yes.
11:49:22     25               MR. DURKIN: Yes.
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 13 of 40 PageID #:1666

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              1               MR. GEVIRTZ: Yes.
              2               THE COURT: And hearing no "no's", I will say it's
              3    unanimous.
              4               Okay. Mr. Hammerman, I'm going to ask you, if you
11:49:35      5    would, to state the charge and the maximum possible penalty
              6    provided by the law here.
              7               And, fellows, when you hear the nature of the maximum
              8    possible penalty, realize that those are the maximum penalties
              9    that any individual could receive if convicted of this offense
11:49:52     10    and certainly are not the penalties that any of you would
             11    receive if you pled or were convicted, okay?
             12               These are maximums. Go ahead.
             13               MR. HAMMERMAN: Yes, Your Honor.
             14               The government alleges that from no later from
11:50:05     15    March 2012 to in and around March 2013, in the Northern
             16    District of Illinois, Eastern Division, Edward J. Novak, Roy
             17    M. Payawal, Venkateswara R. Kuchipudi -- That's
             18    K-U-C-H-I-P-U-D-I, also known as V.R. Kuchipudi -- Percy
             19    Conrad May, Jr., Subir Maitra, and Shanin Moshiri, also known
11:50:39     20    as Shawni Moshiri, defendants herein, conspired to knowingly
             21    and willfully offer and pay, solicit and receive
             22    remunerations, directly and indirectly, overtly and covertly,
             23    in return for the referral of patients for the furnishing and
             24    arranging the furnishing for any item and service for which
11:51:16     25    payment may be made in whole or in part under a federal health
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 14 of 40 PageID #:1667

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              1    care program in violation of Title 42, United States Code,
              2    Section 1320a-7(b) subsection (d) all in violation of
              3    Title 18, United States Code, Section 371.
              4               Your Honor, that particular charge carries a maximum
11:51:40      5    penalty of five years' imprisonment, a fine of $250,000, and a
              6    term of supervised release not to exceed three years.
              7               THE COURT: Okay. I'm going to ask each defendant
              8    individually two questions, and I'm going to ask you to just
              9    answer yes or no. If you want to amplify on that, you can.
11:52:03     10    I'm going to ask you each of you if you understand the charge
             11    against you and you understand the maximum penalty provided.
             12               Mr. Novak? Do you understand the nature of the
             13    charge, what you're being charged with?
             14               DEFENDANT NOVAK: Yes, Judge.
11:52:21     15               THE COURT: And you understand the maximum penalty
             16    you could receive?
             17               DEFENDANT NOVAK: Yes, Judge.
             18               THE COURT: Mr. Payawal?
             19               DEFENDANT PAYAWAL: Yes, I do.
11:52:31     20               THE COURT: Okay. Mr. Kuchipudi?
             21               DEFENDANT KUCHIPUDI: Yes, sir.
             22               THE COURT: Mr. May.
             23               DEFENDANT MAY: I do.
             24               THE COURT: All right. Mr. Maitra?
11:52:37     25               DEFENDANT MAITRA: Yes, sir.
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 15 of 40 PageID #:1668

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              1               THE COURT: And finally Mr. Moshiri?
              2               DEFENDANT MOSHIRI: Yes.
              3               THE COURT: Okay. I wish you to advise you of your
              4    rights to a preliminary examination.
11:52:44      5               You have the right to a preliminary examination on
              6    this complaint, which is an evidentiary hearing before me to
              7    determine whether there's probable cause to hold you under
              8    this particular charge. It's not a trial.
              9               At this hearing, the government must establish the
11:52:58     10    probability, that is, the likelihood that a crime has been
             11    committed, and that each of the individuals named in this
             12    complaint is the person who indeed committed it.
             13               At this hearing, you would all, through your
             14    attorneys, have the right to cross-examine all witnesses
11:53:13     15    presented by the government and to present witnesses on your
             16    own behalf if you chose to do so.
             17               Now, if an indictment is returned, that is, if
             18    between the time we set this and the date for our hearing the
             19    government goes to a grand jury and has an indictment returned
11:53:31     20    or if an information is filed in the district court with all
             21    of your permission, then we would strike that date for
             22    probable cause, that is, preliminary hearing because the
             23    filing of an indictment would be considered a showing of
             24    probable cause.
11:53:46     25               Before I set a date for preliminary hearing, I'm
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 16 of 40 PageID #:1669

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              1    going to ask the government to indicate its position on
              2    custody pending these hearings because I want to inform all of
              3    the defendants that you have the right to be admitted to bail
              4    under the least restrictive conditions under the law, and in
11:54:06      5    some instances, I understand the government is going to seek
              6    to have some individuals detained following a detention
              7    hearing and other individuals, the government is not opposed
              8    to a bond.
              9               So, Mr. Hammerman, can you indicate, if you know at
11:54:21     10    this point, what the government's position is with respect to
             11    each and every defendant during the continuance of this period
             12    between now and whenever we set for a preliminary?
             13               MR. HAMMERMAN: Yes, your Honor. The government
             14    would seek detention of Mr. Novak, Mr. Payawal and
11:54:42     15    Dr. Kuchipudi. We have reached terms of release, bond, with
             16    respect to Dr. May, Dr. Maitra and Dr. Moshiri.
             17               THE COURT: Okay. So with respect to the -- the
             18    government is formally moving for detention on Mr. Novak,
             19    Mr. Payawal and Mr. Kuchipudi; is that correct?
11:55:08     20               MR. HAMMERMAN: That is correct, your Honor.
             21               THE COURT: Okay. I'm obligated to set a detention
             22    hearing within a maximum of three working days on the
             23    government's motion. The government can take up to three days
             24    to prepare for its -- to present its evidence at a detention
11:55:28     25    hearing.
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 17 of 40 PageID #:1670

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              1               The defense can certainly get additional time, five
              2    working days on the defense motion, but if we have three cases
              3    that are set for a detention hearing -- and I'm going to ask,
              4    first of all, is it Mr. Gevirtz?
11:55:47      5               MR. GEVIRTZ: Yes, Judge.
              6               THE COURT: All right. What's your position?
              7               MR. GEVIRTZ: Well, Judge, first of all, we'd ask
              8    this Court -- I'd object and ask this Court to allow Mr. Novak
              9    to be released today. I understand the government has three
11:56:04     10    days in which to have this detention hearing heard.
             11               I spoke with Mr. Hammerman. He is agreeable to a
             12    Thursday time if your Honor has Thursday available.
             13               THE COURT: How are we Thursday afternoon for three
             14    detention hearings, Ms. Santiago?
11:56:23     15               MR. CLARKE: I'm going to ask for the afternoon as
             16    well, Judge, as well.
             17               THE COURT: How about Friday? We're so tight on
             18    Thursday, I don't know that I can squeeze you in.
             19               MR. GEVIRTZ: How's 9:00 on Thursday?
11:56:45     20               THE CLERK: 9:30 -- I mean Thursday?
             21               MR. GEVIRTZ: Thursday.
             22               THE CLERK: Thursday is not good. Friday morning is
             23    good at 9:30.
             24               MR. GEVIRTZ: If it's Friday, it would have to be the
11:57:04     25    afternoon.
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 18 of 40 PageID #:1671

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              1               THE CLERK: That's fine. What time in the afternoon
              2    works for you?
              3               MR. GEVIRTZ: 1:30?
              4               THE CLERK: 1:30?
11:57:20      5               THE COURT: 1:30 is fine. That's as to Mr. Novak.
              6               Let me hear on Mr. Payawal.
              7               MR. CLARKE: Judge, I would like to come back
              8    Thursday very much. He's a citizen for 30 years. He has no
              9    prior arrests.
11:57:40     10               I also have an objection. I know the statute allows
             11    the government to ask for the three days. Who am I to argue
             12    with the statute, but --
             13               THE COURT: I've heard you for many years argue very
             14    well with statutes, Mr. Clarke.
11:58:04     15               MR. CLARKE: Yeah. He's been a citizen since 1980.
             16    He's lived in this country since 1974, and in any event, if
             17    you want them all together, Judge, Friday afternoon the same
             18    time.
             19               THE COURT: I want to get everyone as quickly as I
11:58:22     20    can. I believe strongly that an individual should be admitted
             21    to bail under the least restrictive conditions. I must say
             22    that when the government makes its request under 18 U.S.C.
             23    Section 3142(f)(2)(B) for three days, I don't have much law
             24    and didn't have much throughout my career to oppose it.
11:58:45     25               So I'm going to allow you that time period and set
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 19 of 40 PageID #:1672

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              1    you down for a hearing on Friday, and during that time period,
              2    I would like to -- I'm certain that Pretrial Services will be
              3    able to have Pretrial Services reports delivered to
              4    defendants, defense counsel, the Court, the government by that
11:59:35      5    time?
              6               PRETRIAL SERVICES OFFICER: Yes, Your Honor.
              7    [Inaudible].
              8               THE COURT: Do you want to come up and get your name
              9    on the record.
11:59:41     10               PRETRIAL SERVICES OFFICER: Sabina Hurtado on behalf
             11    of Pretrial. We can accommodate the Court's schedule, your
             12    Honor.
             13               THE COURT: Thank you very much.
             14               MR. CLARKE: Judge, may I address one more thing for
11:59:55     15    Mr. Payawal?
             16               THE COURT: Absolutely, Mr. Clarke.
             17               MR. CLARKE: He is on diabetes medicine, high blood
             18    pressure medicine. He's suffering from macular degeneration,
             19    he's almost blind in one eye as well, which may or may not go
12:00:13     20    to whether he's a risk of flight; but in any event, Judge, he
             21    has a host of medicines that his wife has out in Burr Ridge,
             22    and I'm going to try to get them to whoever I have to get them
             23    to.
             24               But I want to make it of record that it's very
12:00:32     25    crucial that he takes these things, he tells me, and with
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 20 of 40 PageID #:1673

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              1    respect especially the hypertension problem and the heart
              2    condition he has.
              3               THE COURT: I'm going to -- I'm going to ask you to
              4    convey to us a list of medications, and I'll make a
12:00:46      5    recommendation.
              6               MR. CLARKE: I'll have them tomorrow and give them to
              7    your minute clerk, Judge.
              8               THE COURT: Right. And I'll issue an order that
              9    during the pendency of his hearing that he be administered his
12:00:57     10    essential medications and I'll list them.
             11               Now, you know as well as I do if we don't get a
             12    reaction that we want from the MCC, wherever he's in custody,
             13    just bring it to my attention, we'll bring him back in here,
             14    and maybe we can have the meds administered in the lockup
12:01:19     15    pending the hearing. I don't want to see --
             16               MR. CLARKE: [Inaudible] I would hope, Judge.
             17               THE COURT: Right. I don't see someone suffer or
             18    fall into danger, and I know the government doesn't either.
             19               MR. CLARKE: Absolutely.
12:01:37     20               THE COURT: I'll put whatever we need to in the
             21    order. Of course, it's going to be a recommendation, but
             22    hopefully they'll take a look at it and they'll say we have a
             23    court order, and here's somebody who has some very legitimate
             24    medical needs. And it's not always been my experience that
12:01:59     25    they don't pay attention to it. Sometimes they actually do.
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 21 of 40 PageID #:1674

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              1               So if you can get those meds specifically to us --
              2               MR. CLARKE: I'll have them tomorrow from his wife,
              3    Judge, who's not here today.
              4               THE COURT: All right, Mr. Clarke.
12:02:16      5               MR. CLARKE: Thank you.
              6               THE COURT: Thank you.
              7               Okay. Mr. Kuchipudi now, and Mr. Pavone, you're
              8    representing Mr. Kuchipudi?
              9               MR. PAVONE: That's correct, Judge. Unfortunately,
12:02:29     10    I'm stuck with this, with the statute, too, but Dr. Kuchipudi
             11    has been here since 1972. He began and completed his
             12    internship and his residency. He's been practicing medicine
             13    since then.
             14               He's been a citizen since 1980. He built a home and
12:02:47     15    has been living in Oak Brook since 1980. He has three
             16    children -- he's married. He's got three children, two of
             17    whom are doctors. The third is an attorney. He certainly
             18    doesn't appear to be a flight risk to me. He also suffers
             19    from some physical infirmities, and if we need to go to a
12:03:09     20    different date for the detention hearing, may I impose upon
             21    the Court to have one of his physician sons bring the doctor's
             22    medications to your clerk tomorrow?
             23               THE COURT: You can bring his medications, but I
             24    would have to probably seek leave of the person in whose
12:03:28     25    custody he is. I don't know that -- is he going to be
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 22 of 40 PageID #:1675

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              1    transferred to the -- I cannot through my clerk give
              2    medications to anybody.
              3               MR. PAVONE: Okay.
              4               THE COURT: You can ask me to put it in an order.
12:03:44      5               MR. PAVONE: Okay.
              6               THE COURT: I can order that those who are
              7    responsible for his custody administer those medications. I
              8    could even make a special request of whatever law enforcement
              9    agency --
12:03:53     10               MR. PAVONE: That's fine.
             11               THE COURT: -- has got them. I cannot take
             12    possession of his meds.
             13               MR. PAVONE: The Marshals Office will do that?
             14               THE COURT: I can't vouch for the Marshals Office.
12:04:44     15    If he's still in the marshal's custody, we can make that
             16    request. If he's in the custody of the Metropolitan
             17    Correctional Center and thus has become a part of the
             18    marshal's custody, we can make that request, but I cannot
             19    speak for what the marshal's policy would be on that.
12:05:10     20               MR. PAVONE: We'd be requesting that order.
             21               MR. HAMMERMAN: Your Honor, the government will make
             22    the marshals aware that certain defendants who are going to be
             23    detained for at least three days prior to this hearing, that
             24    their medical needs -- the marshals are made aware of that
12:05:32     25    fact so they can reach out to counsel.
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 23 of 40 PageID #:1676

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              1               THE COURT: Right, and I certainly will send a copy
              2    of our order, which would be -- it's only a recommendation to
              3    the marshals so that at least if they were going to decide to
              4    resolve this however their policy saw fit that they had
12:05:48      5    certainly the blessing and even the encouragement of the Court
              6    to do that, and sometimes the marshals will say, well, we
              7    don't want to go against the Court. The courts will say we
              8    don't want to go against the marshals. So if we both know
              9    about it, hopefully we'll have at least some agreement.
12:06:09     10               MR. PAVONE: I did speak about a possible Thursday
             11    hearing in order to have it resolved before then. May I
             12    request either late day or early morning? Because --
             13               THE COURT: We can't accommodate you on Thursday.
             14               MR. PAVONE: Nothing?
12:06:23     15               THE COURT: No.
             16               MR. PAVONE: Tomorrow?
             17               THE COURT: We're booked solid. I hate to do it, but
             18    I want to get these things all done. It's certainly not going
             19    to go past Friday, and --
12:06:51     20               MR. PAVONE: What time then on Friday? I've got an
             21    endocrinologist appointment in the afternoon, but he's bailed
             22    on me before. I guess I'll have to bail on him.
             23               THE COURT: Well, what time is your appointment?
             24               THE CLERK: 9:30 is the earliest.
12:07:10     25               THE COURT: 9:30 Friday? Can he see you in the
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 24 of 40 PageID #:1677

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              1    afternoon, Mr. Pavone?
              2               MR. PAVONE: Oh, yeah. It's scheduled for the
              3    afternoon. How about 10:00 or 10:30?
              4               THE CLERK: 9:30, 10:30.
12:07:24      5               THE COURT: When were we set?
              6               MR. CLARKE: We were set for 1:30, I think, Friday,
              7    weren't we?
              8               MR. GEVIRTZ: Yes.
              9               MR. CLARKE: Judge, may I --
12:07:42     10               MR. PAVONE: My appointment's at 4:00, and I'm
             11    hopeful that the government and I can come to an agreement
             12    before then.
             13               THE COURT: You know, there's really -- I encourage
             14    defense counsel and government counsel to talk to see if you
12:08:02     15    can persuade the prosecutors to modify the request. It's not
             16    carved in stone, but right now, the government's moved for
             17    detention and they're entitled under the law to take those
             18    three days to prepare for their hearing. I don't know what
             19    time we're at on Friday with respect to these hearings.
12:08:19     20               MR. GEVIRTZ: 1:30, your Honor.
             21               MR. CLARKE: 1:30 you said, Judge.
             22               THE COURT: 1:30?
             23               MR. PAVONE: 1:30 it is. My endocrinologist will
             24    have to wait.
12:08:38     25               THE COURT: Okay. Mr. May's counsel -- I'm sorry,
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 25 of 40 PageID #:1678

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              1    Mr. Novak's counsel, Mr. Payawal's counsel and Mr. Kuchipudi
              2    all -- fellows you're going to be held in custody pending the
              3    outcome of your hearing on Friday, and I'm very sorry that I
              4    have to say that. I'm the bearer of terrible news with
12:09:01      5    respect to that. It doesn't make me happy at all to say that,
              6    and certainly I'm going to listen to any and all arguments
              7    that your attorneys have in support of your release on bond.
              8               I'm not predicting as to what my ruling will be, but
              9    I certainly am going to be listening intently to whatever the
12:09:23     10    positions are. And I also, of course, encourage the
             11    government if it believes that it wishes to modify its
             12    position to perhaps joining in an agreement for bond on
             13    conditions that it does so. But the government doesn't need
             14    me to tell them that.
12:09:43     15               You know, if there are some conditions that are
             16    agreeable to them, then they will -- then they will, in my
             17    experience, be willing to listen to that.
             18               Mr. Clarke.
             19               MR. CLARKE: Yes, Judge, we may come to some sort of
12:10:07     20    an agreement before Friday; and, of course, then we can send
             21    in an agreed order to your Honor even on Thursday, I would
             22    assume.
             23               THE COURT: Well, actually let us motion it up. If
             24    it's an agreed release and you can come to an agreement before
12:10:20     25    that, we'll squeeze you in somehow, and we'll have your client
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 26 of 40 PageID #:1679

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              1    brought over. The sooner you let us know about that, the
              2    better.
              3               It's the contested hearings that we're going to have
              4    on Friday. If counsel and the government reach an agreement,
12:10:36      5    let us know as soon as you can. We'll get you in, and we'll
              6    get your clients out if we can do that.
              7               You know, just let me know. I mean, we're flexible
              8    in that respect, okay?
              9               Now, with respect to Mr. -- so can I set a date for a
12:11:00     10    preliminary hearing on Friday for those who are in custody,
             11    Novak, Payawal and Kuchipudi?
             12               MR. HAMMERMAN: Your Honor, what the government
             13    requests at this time is because if there is a request for
             14    preliminary hearing by any of these six defendants, it seems
12:11:22     15    to make the most sense to have the preliminary hearing with
             16    respect to all the defendants at that time.
             17               THE COURT: I agree.
             18               MR. HAMMERMAN: So what we would request is that we
             19    have a status to set a date for preliminary hearing in short
12:11:38     20    order, whether it's on Friday or Monday and Tuesday of next
             21    week, to determine whether or not a preliminary hearing will
             22    be necessary and, if so, which defendants will be requesting.
             23               THE COURT: Okay. How does that sound?
             24               MR. CLARKE: I think that sounds good, Judge.
12:11:49     25               THE COURT: Let's have a status on Friday so the
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 27 of 40 PageID #:1680

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              1    three of the six lawyers will already be here, and I want the
              2    other three to come in, maybe a little close to noon. What do
              3    you think? So we can have a status as to when we're going to
              4    set a preliminary hearing.
12:12:09      5               And, you know, if the government and the defense --
              6    certainly I don't need to say this but I will anyway -- wish
              7    to engage in negotiations discoverywise which might obviate
              8    the need for a hearing, you know, we'll listen to that, but
              9    those who insist on a hearing, certainly we'll set a date for
12:12:29     10    that. But if we're coming in at what time on Friday?
             11               THE CLERK: 1:30.
             12               THE COURT: So why don't we bring everyone in 3:00,
             13    let's say 3:00? No, wait, Pavone, I can't do that with you.
             14    You're going to be cutting it too closely. Why don't we just
12:12:45     15    bring --
             16               MR. GEVIRTZ: Your Honor, if I could suggest,
             17    Judge --
             18               THE COURT: I'm sorry?
             19               MR. HAMMERMAN: Your Honor, it's just for status.
12:12:58     20               THE COURT: 1:15, is that good? Mr. Gevirtz, is
             21    that?
             22               MR. GEVIRTZ: Yeah. I was going to suggest you could
             23    do his bond hearing first and then let him go.
             24               THE COURT: Thank you.           Okay.
12:13:18     25               MR. DURKIN: Did you say 1:15?
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 28 of 40 PageID #:1681

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              1               MR. CLARKE: 1:30.
              2               THE COURT: 1:15 for --
              3               MR. CLARKE: Oh, I'm sorry.
              4               THE COURT: -- for status.
12:13:40      5               Wait, let me tell you guys. I promise, I won't give
              6    you a bum steer.
              7               It's 1:15 for status on preliminary hearing, whether
              8    you want one, whether you're going to invoke your right to it,
              9    whether you've engaged in some negotiations, and at 1:30 for
12:14:00     10    the detention hearing on Mr. Novak, Mr. Payawal and
             11    Mr. Kuchipudi.
             12               As to Mr. May, Mr. Maitra and Mr. Moshiri, I
             13    understand that there's an agreed bond, and if we have release
             14    orders prepared, I'm prepared to go through those now. Do we
12:14:17     15    have those up here? We do.
             16               MR. HAMMERMAN: Your Honor, may I make a quick
             17    request?
             18               THE COURT: Sure.
             19               MR. HAMMERMAN: Just to accommodate law enforcement,
12:14:23     20    and that is, with respect to the three defendants we've now
             21    set a detention hearing for on Friday, can we ask that law
             22    enforcement be able to take those defendants to the custody of
             23    the marshals at this time so they don't have to wait through
             24    these bond hearings?
12:14:34     25               THE COURT: Okay. But I'm going to ask first -- yes,
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 29 of 40 PageID #:1682

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              1    that request will be granted, but I am going to first, before
              2    they're taken away, address Mr. Novak, Mr. Payawal and
              3    Mr. Kuchipudi again. You are unfortunately going to be held
              4    in custody during the time between now and the hearing on
12:14:56      5    Friday at least.
              6               Is there anything that you feel that needs to be
              7    brought right now to the Court's attention that has not yet
              8    been brought to the Court's attention before you -- before
              9    your case is concluded for the day?
12:15:11     10               And first I ask Mr. Novak, is there anything else?
             11    Through your attorney, of course.
             12               MR. GEVIRTZ: No, Judge.
             13               THE COURT: All right. And Mr. Payawal?
             14               MR. CLARKE: No, Judge.
12:15:28     15               THE COURT: Okay. And Mr. Kuchipudi?
             16               MR. PAVONE: No, Judge.
             17               THE COURT: All right. I will see you three
             18    gentlemen on Friday, and we will have hopefully completed
             19    Pretrial Services report with respect to everyone. And with
12:15:40     20    that, yes -- those individuals --
             21               MR. PAVONE: Law enforcement, defendants and
             22    attorneys can go?
             23               THE COURT: Pardon me?
             24               MR. PAVONE: Law enforcement, those defendants and
12:15:59     25    the attorneys can go?
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 30 of 40 PageID #:1683

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              1               THE COURT: Yes, and the attorneys are excused also
              2    until Friday at 1:15.
              3               MR. PAVONE: Thank you.
              4               THE COURT: Okay. We're just going to take a pause
12:16:07      5    right now just for a moment.
              6               Okay, good luck, fellows.
              7          (Pause.)
              8               THE COURT: Court's back in session.
              9               Are we back?
12:16:34     10               MR. HAMMERMAN: We are, your Honor.
             11               THE COURT: Okay. And this is now the case of Percy
             12    Conrad May, Subir Maitra and Shanin Moshiri for setting
             13    conditions of release.
             14               And Mr. May, Mr. Maitra and Mr. Moshiri, your lawyers
12:16:55     15    and the government have agreed that you are bondable, that we
             16    are able to set orders -- we are able to order conditions of
             17    your release, and with the agreement of two parties, two
             18    opponents in this case, I'm always inclined to go along
             19    with -- almost always inclined to go along with that.
12:17:15     20               So I certainly am willing to set your release on
             21    personal recognizance.
             22               There's a $250,000 bond which is secured, and
             23    Mr. Percy Conrad May is going to set that. Now, have we
             24    accomplished that?
12:17:50     25               MS. REYNOLDS: Your Honor, we have not. I handled --
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 31 of 40 PageID #:1684

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              1    your Honor, I handled the forms with respect to Defendants
              2    May, Maitra and Moshiri, and each one of the bonds is a bond
              3    for $250,000 that's partially secured by separate amounts.
              4               With respect to Mr. -- excuse me -- Dr. May, Dr. May
12:18:24      5    is going to post a cashier's check of $10,000, and he has
              6    agreed by what time he is going to post that amount with the
              7    clerk's office, and that can be done on a date after his
              8    release from custody today.
              9               THE COURT: Let me tell you Moshiri and Maitra have
12:18:45     10    not set out on Page 1, No. 6, the defendant is executing a
             11    secured bond binding him to pay the United States a sum of
             12    250,000. So if counsel can step forward, it's not set out
             13    there, and I --
             14               MS. REYNOLDS: I believe that's set forth on Page 2,
12:19:11     15    but we'll fill it out on Page 1 as well.
             16               THE COURT: Right. I mean, I just noticed it because
             17    it's set out at May's.
             18               MS. REYNOLDS: Right. We had initially set out an
             19    unsecured bond and then had changed it to a secured bond.
12:19:26     20               THE COURT: Okay.
             21               MS. REYNOLDS: So we'll make that quick change to --
             22               THE COURT: It's a bond secured by $250,000 as to
             23    each and every one of the three individuals before me now,
             24    secured by a $10,000 cashier's check to be filed with the
12:19:41     25    Clerk of the Court by noon on April 22nd, 2013.
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 32 of 40 PageID #:1685

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              1               MS. REYNOLDS: And that is to Defendant May.
              2               THE COURT: Okay.
              3               MS. REYNOLDS: Each defendant's bond is slightly
              4    different as to the amount that they are posting.
12:19:55      5               So with respect to Dr. May, he is going to be posting
              6    a cashier's check in the amount of $10,000.
              7               THE COURT: Dr. May; is that correct?
              8               DEFENDANT MAY: That is correct.
              9               THE COURT: Okay. And as to Mr. Maitra.
12:20:08     10               MS. REYNOLDS: Dr. Maitra will be posting a cashier's
             11    check in the amount of $20,000 with the clerk's office, again,
             12    by Monday, April 22nd, 2013.
             13               THE COURT: Okay. And is it Dr. Moshiri or Mr. --
             14               DEFENDANT MOSHIRI: Doctor.
12:20:27     15               MS. REYNOLDS: Doctor.
             16               THE COURT: Dr. Moshiri, I'm sorry, fellows, and what
             17    are the conditions of that?
             18               MS. REYNOLDS: It's a $250,000 bond secured with
             19    $200,000 in equity on a property at 800 North Michigan Avenue,
12:20:45     20    which will need to be posted with the Court by Friday. And,
             21    your Honor, we will need a time to appear before the Court so
             22    that Mr. -- excuse me -- Dr. Moshiri can post the property at
             23    that time.
             24               THE COURT: Are you amenable to every -- each of
12:21:00     25    these three individuals being released today, pending the
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 33 of 40 PageID #:1686

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              1    filing of the --
              2               MS. REYNOLDS: We absolutely are, and that's checked
              3    on Page 3 of each one of the bond forms.
              4               THE COURT: Wonderful. Okay. I'm going to address
12:21:16      5    Dr. Moshiri, Dr. Maitra and Dr. May with respect to the
              6    conditions of the bond, and I'm just going to run them by, and
              7    then at the end of my recitation, I'm going to ask you to
              8    acknowledge that your release is subject to the following
              9    conditions:
12:21:33     10               You cannot violate any federal, state or local law
             11    while you're on release.
             12               You must cooperate with the collection of a DNA
             13    sample if the collection is authorized by 42 U.S.C. 14135(a).
             14               You must immediately advise the Court, your attorney
12:21:50     15    and the U.S. Attorney in writing before any change in address
             16    or telephone number.
             17               And you must appear in court as required for any
             18    hearings that are set into the future, including this status
             19    hearing that we've set for Friday unless your presence is
12:22:07     20    waived at the end of this hearing.
             21               You've got to report to the Pretrial Services
             22    Officers as directed, all three of you.
             23               You have to execute a bond or agreement to forfeit
             24    upon failing to appear as required whatever sum of money you
12:22:26     25    have promised, secured by whatever amount the cashier's check
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 34 of 40 PageID #:1687

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              1    is set out in each of your specific bonds.
              2               If you have a passport, you must surrender it to
              3    Pretrial Services. You cannot obtain a new passport.
              4               You must abide by a restriction in terms of travel
12:22:43      5    within the Northern District of Illinois, and we'll give you a
              6    map of the Northern District of Illinois to show you what
              7    those limitations are.
              8               If you do need to travel outside the Northern
              9    District of Illinois, you've got to come in to the Court and
12:22:59     10    seek permission to expand the conditions of your bond.
             11               You must avoid all contact, directly and indirectly,
             12    with persons who may become victims or witnesses in the
             13    investigation, including but not limited to other defendants
             14    named in 13 CR 312.
12:23:17     15               Do we have any familial connections or anything that
             16    I need to know about?
             17               MS. REYNOLDS: No, your Honor.
             18               THE COURT: Okay. Maintain residence where you have
             19    promised.
12:23:31     20               Refrain from possessing any firearm, destructive
             21    device or dangerous weapon.
             22               Refrain from any excessive use of alcohol.
             23               Refrain from the unlawful use of any narcotic drug or
             24    other controlled substances unless it's prescribed by a
12:23:48     25    licensed medical practitioner other than yourself, okay?
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 35 of 40 PageID #:1688

                                                                                             35

              1               And do each and every one of you understand?
              2    Mr. May, do you understand the conditions of your release?
              3               DEFENDANT MAY: I do.
              4               THE COURT: And Mr. Maitra, you understand?
12:24:06      5               DEFENDANT MAITRA: Yes, sir.
              6               THE COURT: Also Mr. Moshiri.
              7               DEFENDANT MOSHIRI: Yes, sir.
              8               THE COURT: Doctors, I meant to say.
              9               Okay. Your attorneys have advised you that violation
12:24:14     10    of any of the foregoing conditions of release could result in
             11    the immediate issuance of a warrant for your arrest,
             12    revocation of release, an order of detention, forfeiture of
             13    bond and possible prosecution, depending upon the offenses
             14    committed for bond violation, prosecution for underlying
12:24:38     15    offense, and, in some instances, any sentences you might
             16    receive would be consecutive to that, that is, in addition to
             17    any sentence you might receive on these underlying charges.
             18               Dr. May, do you understand that?
             19               DEFENDANT MAY: I do.
12:24:57     20               THE COURT: And Dr. Maitra?
             21               DEFENDANT MAITRA: Yes.
             22               THE COURT: And finally, Dr. Moshiri?
             23               DEFENDANT MOSHIRI: Yes.
             24               THE COURT: Okay. I'm going to sign, and each of you
12:25:03     25    are ordered released after processing, and I'm going to order,
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 36 of 40 PageID #:1689

                                                                                             36

              1    unless I hear a motion, I'm going to order those defendants
              2    released to show up for the status on Friday unless there's a
              3    reason that I should not do that.
              4               Counsel? I defer to --
12:25:21      5               MS. REYNOLDS: Your Honor, before we proceed with
              6    that, I just wanted to note that with respect to Dr. Moshiri,
              7    there's an additional condition that he surrender his FOID
              8    card to Pretrial Services, and that's something to which
              9    Dr. Moshiri has agreed. And with respect to Dr. --
12:25:47     10               THE COURT: Wait, wait, wait. Dr. Moshiri, do you
             11    understand that?
             12               DEFENDANT MOSHIRI: Yes, sir.
             13               THE COURT: You're going to surrender that.
             14               DEFENDANT MOSHIRI: Yes.
12:25:56     15               THE COURT: Do you have that in court with you today?
             16               DEFENDANT MOSHIRI: No.
             17               THE COURT: When are they going to receive that?
             18               DEFENDANT MOSHIRI: Tomorrow 9:00 a.m.
             19               THE COURT: Okay, tomorrow at 9:00 a.m. That's a
12:26:08     20    fine representation.
             21               I'm sorry, Ms. Reynolds, what's next?
             22               MS. REYNOLDS: With respect to Dr. Maitra, Pretrial
             23    Services recommended that Dr. Maitra submit to substance abuse
             24    treatment, and he has agreed to that condition.
12:26:26     25               THE COURT: Dr. Maitra you've agreed --
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 37 of 40 PageID #:1690

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              1               DEFENDANT MAITRA: Yes, sir.
              2               THE COURT: -- that you're going to submit to
              3    substance abuse treatment?
              4               DEFENDANT MAITRA: Yes.
12:26:36      5               THE COURT: And that's agreeable and amenable to you.
              6               DEFENDANT MAITRA: Yes.
              7               THE COURT: Agreeable with and amenable to you?
              8               Okay. When does that commence, do we know?
              9               MS. REYNOLDS: At the direction of Pretrial Services.
12:26:47     10               THE COURT: All right.
             11               MR. DURKIN: He has a meeting at 11:30 tomorrow with
             12    Pretrial Service Office.
             13               THE COURT: Boy, I wish I could get that kind of
             14    action when I sought to get some kind of assistance.
12:27:10     15    Tomorrow. Good. Well, I hope you avail yourself of it and it
             16    does you well, sir.
             17               Anything else with respect to special conditions --
             18               MS. REYNOLDS: No, your Honor.
             19               THE COURT: -- Ms. Reynolds?
12:27:21     20               Okay. I'm signing these three orders setting
             21    conditions for release, and then Ms. Santiago, are we going to
             22    have each of these gentlemen sign the actual bond?
             23               THE CLERK: Yes. I'm writing them out.
             24               THE COURT: Okay. What else need we do?
12:27:39     25               Processing by the U.S. Marshals. Have all these men
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 38 of 40 PageID #:1691

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              1    been processed?
              2               MS. REYNOLDS: They have, your Honor.
              3               THE COURT: Okay. So everyone can be released from
              4    the courtroom; is that right?
12:28:01      5               MS. REYNOLDS: I believe they may need to be -- the
              6    marshals are finished, so they can be released from the
              7    courtroom.
              8               THE COURT: All right. Well, I'll see all of you on
              9    Friday just to make sure everything's in good shape. I've
12:28:17     10    signed all three of the orders setting conditions for release,
             11    and you'll receive copies of these. I'll do it again in the
             12    order of the criminal complaint just because it's a very
             13    unsophisticated way to do it, Dr. May, then Dr. Maitra and
             14    then Dr. Moshiri, and I'll hand these to our courtroom deputy.
12:28:43     15               Is there anything else that requires my attention?
             16               MS. REYNOLDS: Your Honor, with respect to
             17    Dr. Moshiri, he needs to post certain paperwork with respect
             18    to property, and I'm wondering if we could accomplish that at
             19    the 1:15 status? I believe it will be agreed, and we'll just
12:28:59     20    need your Honor to briefly --
             21               THE COURT: Okay.
             22               MS. REYNOLDS: -- warn the defendant regarding
             23    posting property at that time.
             24               THE COURT: Dr. Moshiri, you understand that you're
12:29:09     25    going to be prepared to post that property and have you
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 39 of 40 PageID #:1692

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              1    tendered or have you received the form that you need with
              2    respect to all the requirements? I remember it to be rather
              3    lengthy, so take a look at that tonight, and we still have a
              4    fairly sophisticated process for setting out a clear title and
12:29:40      5    all the rest.
              6               Okay. So good luck to you, and be prepared to bring
              7    that with you on Friday, and then we'll take a look at it and
              8    make sure that it's filed in the proper place.
              9               Anything else at this time? Mr. Durkin, Ms. Roberts?
12:29:54     10               MR. DURKIN: That's it, Judge.
             11               THE COURT: Okay.
             12               MR. DURKIN: Thank you.
             13               THE COURT: And who else do I have here in the back?
             14    I've got Mr. Fisher.
12:30:04     15               MR. FISHER: Yes, sir.
             16               THE COURT: And Mr. Clavelli, anything else?
             17               MR. CLAVELLI: I beg your pardon, your Honor. I was
             18    getting that particular form.
             19               THE COURT: Okay.
12:30:17     20               MR. CLAVELLI: I didn't hear your question.
             21               THE COURT: No, I just said is there anything else
             22    right now?
             23               MR. CLAVELLI: There is nothing.
             24               THE COURT: Okay. I remember -- no, I won't go into
12:30:25     25    that.
           Case: 1:13-cr-00312 Document #: 250 Filed: 03/25/14 Page 40 of 40 PageID #:1693

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              1               MR. CLAVELLI: No stories.
              2               THE COURT: No stories. All right. I'll see you all
              3    on Friday. Okay.
              4               MS. REYNOLDS: Thank you, your Honor.
12:30:34      5               MR. HAMMERMAN: Thank you, your Honor.
              6               MR. CLAVELLI: It was a pleasure, your Honor.
              7               THE COURT: Mine indeed also.
              8          (Which were all the proceedings heard.)
              9                                    CERTIFICATE
             10          I certify that the foregoing is a correct transcript from
             11    the digital recording of proceedings in the above-entitled
             12    matter to the best of my ability, given the limitations of
             13    using a digital-recording system.
             14
             15    /s/Kathleen M. Fennell                         March 24, 2014
             16
                   Kathleen M. Fennell                            Date
             17    Official Court Reporter
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